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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION


 Kellen Brown, Administrator of the Estate of )               C/A No.: 3:19-595-JMC-SVH
 Tiffany Brown,                               )
                                              )
                      Plaintiff,              )
                                              )
 v.                                           )             CONFIDENTIALITY ORDER
                                              )
 Leon Lott in his capacity as Sheriff of the )
 Richland County Sheriff’s Department; Joe )
 Phillip Smith in his individual capacity,    )
                                              )
                     Defendants.              )
                                              )

       Whereas, the parties to this Consent Confidentiality Order (“parties”), have stipulated that

certain discovery material is and should be treated as confidential, and have agreed to the terms of

this order; accordingly, it is this 19th day of October 2020, ORDERED:

       1.      Scope. The City of Columbia employment file for Joe Phillip Smith (hereinafter

collectively “documents”) shall be subject to this Order concerning confidential information as set

forth below.

       2.      Form and Timing of Designation. Confidential documents shall be so designated

by placing or affixing the word “CONFIDENTIAL” on the document in a manner which will not

interfere with the legibility of the document and which will permit complete removal of the

Confidential designation. Documents shall be designated CONFIDENTIAL prior to, or

contemporaneously with, the production or disclosure of the documents.              Inadvertent or

unintentional production of documents without prior designation as confidential shall not be

deemed a waiver, in whole or in part, of the right to designate documents as confidential as

otherwise allowed by this Order.



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        3.       Documents Which May be Designated Confidential. Any party may designate

documents as confidential but only after review of the documents by an attorney 1 who has, in good

faith, determined that the documents contain information protected from disclosure by statute,

sensitive personal information, trade secrets, or confidential research, development, or commercial

information. The certification shall be made concurrently with the disclosure of the documents,

using the form attached hereto at Attachment A which shall be executed subject to the standards

of Rule 11 of the South Carolina Rules of Civil Procedure. Information or documents which are

available in the public sector may not be designated as confidential.

        4.       Depositions.      Portions of depositions shall be deemed confidential only if

designated as such when the deposition is taken or within seven business days after receipt of the

transcript. Such designation shall be specific as to the portions to be protected.

        5.       Protection of Confidential Material.

        a.       General Protections. Documents designated CONFIDENTIAL under this Order

        shall not be used or disclosed by the parties or counsel for the parties or any other persons

        identified below (¶ 5.b.) for any purposes whatsoever other than preparing for and

        conducting the litigation in which the documents were disclosed (including any appeal of

        that litigation). The parties shall not disclose documents designated as confidential to

        putative class members not named as plaintiffs in putative class litigation unless and until

        one or more classes have been certified.




        1
                  The attorney who reviews the documents and certifies them to be CONFIDENTIAL must
be admitted to the Bar of at least one state but need not be admitted to practice in the State of South Carolina
and need not apply for pro hac vice admission. By signing the certification, counsel submits to the
jurisdiction of this court in regard to the certification.



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        b.      Limited Third Party Disclosures. The parties and counsel for the parties shall

        not disclose or permit the disclosure of any documents designated CONFIDENTIAL under

        the terms of this Order to any other person or entity except as set forth in subparagraphs

        (1)-(5) below, and then only after the person to whom disclosure is to be made has executed

        an acknowledgment (in the form set forth at Attachment B hereto), that he or she has read

        and understands the terms of this Order and is bound by it. Subject to these requirements,

        the following categories of persons may be allowed to review documents which have been

        designated CONFIDENTIAL pursuant to this Order:

                (1)     counsel and employees of counsel for the parties who have responsibility

                for the preparation and trial of the lawsuit;

                (2)     parties and employees of a party to this Order but only to the extent counsel

                shall certify that the specifically named individual party or employee’s assistance

                is necessary to the conduct of the litigation in which the information is disclosed 2;

                (3)     court reporters engaged for depositions and those persons, if any,

                specifically engaged for the limited purpose of making photocopies of documents;

                (4)     consultants, investigators, or experts (hereinafter referred to collectively as

                “experts”) employed by the parties or counsel for the parties to assist in the

                preparation and trial of the lawsuit; and

                (5)     other persons only upon consent of the producing party or upon order of the

                court and on such conditions as are agreed to or ordered.



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                  At or prior to the time such party or employee completes his or her acknowledgment of
review of this Order and agreement to be bound by it (Attachment B hereto), counsel shall complete a
certification in the form shown at Attachment C hereto. Counsel shall retain the certification together with
the form signed by the party or employee.



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       c.       Control of Documents. Counsel for the parties shall take reasonable efforts to

       prevent unauthorized disclosure of documents designated as Confidential pursuant to the

       terms of this order. Counsel shall maintain a record of those persons, including employees

       of counsel, who have reviewed or been given access to the documents along with the

       originals of the forms signed by those persons acknowledging their obligations under this

       Order.

       d.       Copies. All copies, duplicates, extracts, summaries or descriptions (hereinafter

       referred to collectively as “copies”), of documents designated as Confidential under this

       Order or any portion of such a document, shall be immediately affixed with the designation

       “CONFIDENTIAL” if the word does not already appear on the copy. All such copies shall

       be afforded the full protection of this Order.

       6.       Filing of Confidential Materials. In the event a party seeks to file any material

that is subject to protection under this Order with the court, that party shall take appropriate action

to insure that the documents receive proper protection from public disclosure including: (1) filing

a redacted document with the consent of the party who designated the document as confidential;

(2) where appropriate (e.g. in relation to discovery and evidentiary motions), submitting the

documents solely for in camera review; or (3) where the preceding measures are not adequate,

seeking permission to file the document under seal. Absent extraordinary circumstances making

prior consultation impractical or inappropriate, the party seeking to submit the document to the

court shall first consult with counsel for the party who designated the document as confidential to

determine if some measure less restrictive than filing the document under seal may serve to provide

adequate protection. This duty exists irrespective of the duty to consult on the underlying motion.

Nothing in this Order shall be construed as a prior directive to the Clerk of Court to allow any




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document be filed under seal. The parties understand that documents may be filed under seal only

with the permission of the court after proper motion.

       7.      Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless the party moves for an Order providing such special protection.

       8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation

is subject to challenge. The following procedures shall apply to any such challenge.

       a.      The burden of proving the necessity of a Confidential designation remains with the

       party asserting confidentiality.

       b.      A party who contends that documents designated CONFIDENTIAL are not entitled

       to confidential treatment shall give written notice to the party who affixed the designation

       of the specific basis for the challenge. The party who so designated the documents shall

       have fifteen (15) days from service of the written notice to determine if the dispute can be

       resolved without judicial intervention and, if not, to move for an Order confirming the

       Confidential designation.

       c.      Notwithstanding any challenge to the designation of documents as confidential, all

       material previously designated CONFIDENTIAL shall continue to be treated as subject to

       the full protections of this Order until one of the following occurs:

               (1)    the party who claims that the documents are confidential withdraws such

               designation in writing;

               (2)    the party who claims that the documents are confidential fails to move

               timely for an Order designating the documents as confidential as set forth in

               paragraph 8.b. above; or




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          (3)     the court rules that the documents should no longer be designated as

          confidential information.

   d.     Challenges to the confidentiality of documents may be made at any time and are

   not waived by the failure to raise the challenge at the time of initial disclosure or

   designation.

   9.     Treatment on Conclusion of Litigation.

   a.     Order Remains in Effect. All provisions of this Order restricting the use of

   documents designated CONFIDENTIAL shall continue to be binding after the conclusion

   of the litigation unless otherwise agreed or ordered.

   b.     Return of CONFIDENTIAL Documents. Within thirty (30) days after the

   conclusion of the litigation, including conclusion of any appeal, all documents treated as

   confidential under this Order, including copies as defined above (¶5.d.) shall be returned

   to the producing party unless: (1) the document has been entered as evidence or filed

   (unless introduced or filed under seal); (2) the parties stipulate to destruction in lieu of

   return; or (3) as to documents containing the notations, summations, or other mental

   impressions of the receiving party, that party elects destruction. Notwithstanding the above

   requirements to return or destroy documents, counsel may retain attorney work product

   including an index which refers or relates to information designated CONFIDENTIAL so

   long as that work product does not duplicate verbatim substantial portions of the text of

   confidential documents. This work product continues to be Confidential under the terms

   of this Order. An attorney may use his or her work product in a subsequent litigation

   provided that its use does not disclose the confidential documents.




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       10.     Order Subject to Modification. This Order shall be subject to modification on

motion of any party or any other person who may show an adequate interest in the matter to

intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

however, be modified until the parties shall have been given notice and an opportunity to be heard

on the proposed modification.

       11.     No Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any specific document or item of

information designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c)

of the South Carolina Rules of Civil Procedure or otherwise until such time as a document-specific

ruling shall have been made.

       12.     Persons Bound. This Order shall take effect when entered and shall be binding

upon: (1) counsel who signed below and their respective law firms; and (2) their respective clients.

       IT IS SO ORDERED.



October 19, 2020                                     Shiva V. Hodges
Columbia, South Carolina                             United States Magistrate Judge




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                               ATTACHMENT A
                  CERTIFICATION BY COUNSEL OF DESIGNATION
                      OF INFORMATION AS CONFIDENTIAL

 Kellen Brown, Administrator of the Estate of )           C/A No.: 3:19-cv-00595-JMC-SVH
 Tiffany Brown,                               )
                                              )
                      Plaintiff,              )
                                              )
 v.                                           )        Certification by Counsel of Designation
                                              )            of Information as Confidential
 Leon Lott in his capacity as Sheriff of the )
 Richland County Sheriff’s Department; Joe )
 Phillip Smith in his individual capacity,    )
                                              )
                     Defendants.              )
                                              )

       Documents produced herewith [whose bates numbers are listed below (or) which are
listed on the attached index] have been marked as CONFIDENTIAL subject to the
Confidentiality Order entered in this action which Order is dated October 19, 2020.

       By signing below, I am certifying that I have personally reviewed the marked documents
and believe, based on that review, that they are properly subject to protection under the terms of
Paragraph 3 of the Confidentiality Order.

       Check and complete one of the two options below.

       ❑       I am a member of the Bar the State of South Carolina. My Bar number is
               _______________.

       ❑       I am not a member of the Bar of the State of South Carolina but am admitted to the
               bar of one or more states. The state in which I conduct the majority of my practice
               is __________________ where my Bar number is ____________. I understand that
               by completing this certification I am submitting to the jurisdiction of the United
               States District Court as to any matter relating to this certification.

Date: ____________________                                 _______________________
                                                           Signature of Counsel

                                                            _______________________
                                                           Printed Name of Counsel




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                                ATTACHMENT B
                       ACKNOWLEDGMENT OF UNDERSTANDING
                          AND AGREEMENT TO BE BOUND

 Kellen Brown, Administrator of the Estate of )            C/A No.: 3:19-cv-00595-JMC-SVH
 Tiffany Brown,                               )
                                              )
                      Plaintiff,              )
                                              )
 v.                                           )           Acknowledgment of Understanding
                                              )              and Agreement to be Bound
 Leon Lott in his capacity as Sheriff of the )
 Richland County Sheriff’s Department; Joe )
 Phillip Smith in his individual capacity,    )
                                              )
                     Defendants.              )
                                              )

        The undersigned hereby acknowledges that he or she has read the Confidentiality Order
dated October 19, 2020 in the above captioned action, understands the terms thereof, and agrees
to be bound by such terms. The undersigned submits to the jurisdiction of the United States District
Court in matters relating to the Confidentiality Order and understands that the terms of said Order
obligate him/her to use discovery materials designated CONFIDENTIAL solely for the purposes
of the above-captioned action, and not to disclose any such confidential information to any other
person, firm or concern.

        The undersigned acknowledges that violation of the Stipulated Confidentiality Order may
result in penalties for contempt of court.

               Name:                  _________________
               Job Title:             _________________
               Employer:              _________________
               Business Address:      _________________



Date: _________________                                     ____________________
                                                            Signature




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                                  ATTACHMENT C
                        CERTIFICATION OF COUNSEL OF NEED
                        FOR ASSISTANCE OF PARTY/EMPLOYEE

 Kellen Brown, Administrator of the Estate of )             C/A No.: 3:19-cv-00595-JMC-SVH
 Tiffany Brown,                               )
                                              )
                      Plaintiff,              )
                                              )
 v.                                           )              Certification of Counsel of Need
                                              )             for Assistance of Party/Employee
 Leon Lott in his capacity as Sheriff of the )
 Richland County Sheriff’s Department; Joe )
 Phillip Smith in his individual capacity,    )
                                              )
                     Defendants.              )
                                              )

       Pursuant to the Confidentiality Order entered in this action, most particularly the provisions
of Paragraph 5.b.2., I certify that the assistance of _________________is reasonably necessary to
the conduct of this litigation and that this assistance requires the disclosure to this individual of
information which has been designated as CONFIDENTIAL.

        I have explained the terms of the Confidentiality Order to the individual named above and
will obtain his or her signature on an “Acknowledgment of Understanding and Agreement to be
Bound” prior to releasing any confidential documents to the named individual and I will release
only such confidential documents as are reasonably necessary to the conduct of the litigation.

       The individual named above is:

       ❑       A named party;

       ❑       An employee of named party _________________. This employee’s job title is
               _________________ and work address is _________________.



Date: _________________                                       _______________________
                                                              Signature




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